Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 1 of 9

                                                 USDC SDNY
                                                 DOCUMENT
                                                 ELECTRONICALLY FILED
                                                 DOC #:
                                                 DATE FILED: 5/12/2023
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 2 of 9
 Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 3 of 9




May 12        2023
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 4 of 9
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 5 of 9
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 6 of 9
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 7 of 9
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 8 of 9
Case 1:23-cv-03905-GHW Document 9 Filed 05/12/23 Page 9 of 9
